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Letter from the Editor: Change the Code to
Support Virtual Hearings

We always welcome letters to the editor commenting on current items of interest in
the Alert. Here’s one from the editor, suggesting that the FINRA Code of Arbitration
Procedure be amended to specifically authorize arbitrators to direct that hearings be held
virtually.


In response to the COVID-19 pandemic, FINRA has administratively postponed in-person
hearings until July 3. It has also encouraged and facilitated hearings via the popular Zoom
videoconferencing platform. Specifically, the latest guidance adds: “Finally, FINRA Dispute
Resolution offers virtual hearing services (via Zoom and teleconference) to parties in all
cases by joint agreement or by panel order” (emphasis added). While this move is well-
intended, in my opinion the italicized part may not be supported by the Code of Arbitration
Procedure, which at best is ambiguous as to virtual hearings over party objection.


Code is Ambiguous as to Virtual Hearings


Rule 12100(o) provides: “The term ‘hearing’ means the hearing on the merits of an
arbitration under Rule 12600.” Subsection (p) adds: “The term ‘hearing session’ means any
meeting between the parties and arbitrator(s) of four hours or less, including a hearing or a
prehearing conference.” The aforesaid Rule 12600 (Required Hearings) likewise does not
more precisely define a “hearing,” and certainly does not mention videoconferencing.
Moreover, the parts of the Code that authorize hearings to be conducted by telephone
expressly spell out that authority: six-year eligibility dismissals under Rule 12206(b)(4);
IPHCs under Rule 12500(b); other prehearing conferences under Rule 12501(c); dismissals
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before the case-in-chief under Rule 12504(a)(5); simplified hearings under Rule 12800(c);
and expungement hearings under Rule 12805(a).


FAA and “Hearings”


Also, at least one court — the Eleventh Circuit in Managed Care Advisory Group, LLC v.
Cigna Healthcare, Inc., 939 F. 3d 1145 (11th Cir. Sep. 18, 2019) (per curiam) — has ruled
that FAA § 7 does not permit a non-party witness to comply with a subpoena to “attend” a
hearing by video- or teleconference: ‘[W]e interpret the plain meaning of [Federal
Arbitration Act] Section 7 as (1) requiring summonsed non-parties to appear in the physical
presence of the arbitrator as opposed to a video conference or teleconference….’”


Solution: Amend the Code


My bottom line? I served as NASD/FINRA Director of Arbitration for 14 years, and I’m the
last FINRA alum to denigrate the use of technology to improve the arbitration process. My
former colleagues will attest I spearheaded the move to online arbitration awards and web-
based case filing in the early 2000s. Also, I was advocating online ADR when I was senior VP
at the AAA a quarter of a century ago. And I currently serve as Chairman of the Board of
Arbitration Resolution Services, a cloud-based ADR service. But in my view the Code does
not clearly authorize arbitrators to hold hearings by videoconference absent party
agreement.


While Rule 12409 authorizes Arbitrators to interpret the Code, methinks the argument that
this extends to directing virtual hearings over a party’s objection would rest on a slender
reed under the doctrine of expressio unius est exclusio alterius (“when one or more things
of a class are expressly mentioned others of the same class are excluded”). In other words,
why spell out in several parts of the Code Arbitrator authority to conduct electronic
hearings in certain circumstances, but not here?


I suggest FINRA consider a simple rule filing for immediate effectiveness that authorizes
Arbitrators – perhaps on a temporary basis or whenever in-person hearings are impractical –
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to direct that hearings be held by videoconference. AAA’s Commercial Arbitration Rules
offer a good model. Rule R-32(c) – Conduct of Proceedings – provides:


When deemed appropriate, the arbitrator may also allow for the presentation of evidence by
    alternative means including video conferencing, internet communication, telephonic
conferences and means other than an in-person presentation. Such alternative means must
  afford a full opportunity for all parties to present any evidence that the arbitrator deems
material and relevant to the resolution of the dispute and, when involving witnesses, provide
                            an opportunity for cross-examination.


I Know, Be Careful What You Ask For


I realize this may touch off an argument that such a rule filing might tacitly prompt court
challenges to Awards resulting from virtual hearings already conducted over the objection
of a party. My answer to that is: maybe, but if that’s the case why expose more Awards to
such challenges by ignoring the possibility? Think about this scenario: The Arbitrators direct
a video hearing over a party’s objection. That party then asks for a postponement, which is
denied. The party refuses to “attend” the virtual hearing. The resulting ex parte Award is
then attacked for violating FAA section 10(a)(3): “where the arbitrators were guilty of
misconduct in refusing to postpone the hearing, upon sufficient cause shown, or in refusing
to hear evidence pertinent and material to the controversy; or of any other misbehavior by
which the rights of any party have been prejudiced….”


Transparency in Rulemaking is Good


Also, the transparency of the 19b rule filing process would make for a better rule, on a
subject constituents are passionate about. Gaps would be addressed. For example, should a
reluctant or technologically-challenged Arbitrator be obliged to conduct a virtual hearing
just because the parties so agreed? Or should the investor have a right to a virtual hearing if
they want one? What if both parties object to having a hearing by videoconference? Or a
particular platform? Comments to a proposed rule would improve the rule.
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In the meantime, the guidance on FINRA’s Webpage can be changed immediately. As I say
to my students at Fordham Law school, “Don’t worry about it and hope for the best” is
rarely the right course of action.


George H. Friedman, SAA Editor-in-Chief


P.S.: I’m not alone in my thinking. See this May 6 Locke Lord blog post, Can an Arbitrator
Require Arbitration by Videoconference?


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